       Case 4:22-cv-09058-HSG        Document 455   Filed 04/18/24    Page 1 of 27




 1   MAUNE.RAICHLE.HARTLEY.FRENCH & MUDD, LLC
     David L. Amell, Esq. (State Bar No. 227207)
 2   Rabiah N. Oral, Esq. (State Bar No. 319905)
     Marissa Y. Uchimura, Esq. (State Bar No. 284385)
 3   1900 Powell Street, Suite 200
     Emeryville, California 94608
 4   Telephone: (800) 358-5922
     Facsimile: (314) 241-4838
 5   damell@mrhfmlaw.com
     roral@mrhfmlaw.com
 6   muchimura@mrhfmlaw.com

 7   Attorneys for Plaintiffs

 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10

11    MICHAEL R. MARCUS and VICTORIA L.        Case No.: 4:22-cv-09058-HSG
      MARCUS,
12                                             [Alameda County Superior Court Case No.:
             Plaintiffs,                       22CV021840]
13
             vs.                               PLAINTIFFS’ MEMORANDUM OF
14                                             POINTS AND AUTHORITIES IN
      AIR AND LIQUID SYSTEMS                   OPPOSITION TO DEFENDANTS CLARK
15    CORPORATION, SUCCESSOR-BY-               RELIANCE CORPORATION, Individually
      MERGER TO BUFFALO PUMPS, INC., et        and as successor-in-interest to JERGUSON
16    al.                                      GAGE AND VALVE COMPANY,
                                               ELECTROLUX HOME PRODUCTS,
17                                             INC., as successor in interest to COPES-
             Defendants.                       VULCAN AND SPIRAX SARCO, INC.’S
18                                             MOTION FOR SUMMARY JUDGMENT
                                               ____________________________________
19                                             Date:          May 9, 2024
                                               Time:          2:00 p.m.
20                                             Courtroom: 02, 4th Floor
                                               District Judge: Hon. Haywood S. Gilliam, Jr.
21
                                               Filed in State Court: November 15, 2022
22                                             Removed to NDCA: December 21, 2022
                                               Trial Date:           September 9, 2024
23

24

25

26

27
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
          Case 4:22-cv-09058-HSG                         Document 455                  Filed 04/18/24               Page 2 of 27




 1                                                         TABLE OF CONTENTS

 2   I.      INTRODUCTION ................................................................................................................... 1
 3   II. STATEMENT OF THE FACTS ............................................................................................. 1
 4        A. Mr. Marcus’s Work With Defendants Products .................................................................. 1
 5          1.      Electrolux Home Products, Inc. (as successor-in-interest to Copes-Vulcan, Inc. ............ 2
 6          2.      Clark-Reliance (as successor-in-interest to Jerguson Gage and Valve Company) .......... 2
 7          3.      Spirax Sarco ..................................................................................................................... 3
 8        B. The Navy Did Not Require Equipment Manufacturers to Use Asbestos in Their Products
          or Prohibit Asbestos Warnings .................................................................................................... 3
 9
     III.        EVIDENTIARY OBJECTIONS ......................................................................................... 6
10
     IV.         LEGAL ARGUMENT ......................................................................................................... 6
11
          A. Defendants Have Not Met Their Burden of Establishing That Boyle’s Government
12        Contractor Defense Applies As A Matter of Law ....................................................................... 7
13          1.      The government contractor defense does not apply to federal maritime law claims ....... 7
14          2. Even if the defense is available, Defendants have not met their burden of demonstrating
            that it applies as a matter of law ............................................................................................... 9
15
          B. Defendants Have Not Met Their Burden on Their Yearsley Derivative Sovereign
16        Immunity Defense ..................................................................................................................... 11
17        C. Defendants Are Not Entitled to Summary Judgment on Mrs. Marcus’s Loss of
          Consortium Cause of Action ..................................................................................................... 13
18
     V. CONCLUSION ...................................................................................................................... 13
19

20

21

22

23

24

25

26

27
                                            i
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
        Case 4:22-cv-09058-HSG                        Document 455                Filed 04/18/24             Page 3 of 27




 1                                                  TABLE OF AUTHORITIES

 2   Cases
 3   Boyle v. United Technologies Corp.
      487 U.S. 500 (1988) ........................................................................................................ 1, 7, 8, 9
 4
     Briggs v. Air & Liquid Systems Corp.
 5     2012 WL 975875 (E.D. Pa. Feb. 13, 2012) ................................................................................. 7
 6   Butler v. Ingalls Shipbuilding, Inc.
      89 F.3d 582 (9th Cir. 1996) ......................................................................................................... 9
 7
     Cabalce v. VSE Corp.
 8    922 F.Supp.2d 1113, 1123 (D. Haw. 2013)................................................................... 11, 12, 13

 9   Getz v. Boeing Co.
      654 F.3d 852 (9th Cir. 2011) ....................................................................................................... 9
10
     Gomez v. Campbell-Ewald Co.
11    768 F.3d 871, 880 (9th Cir. 2014) ................................................................................... 8, 12, 13

12   Griffin v. JTSI, Inc.
      654 F.Supp.2d 1122, 1137 & n. 30 (D.Haw. 2008)................................................................... 11
13
     In re Hanford Nuclear Reservation Litig.
14     534 F.3d 986, 1001 (9th Cir. 2008) ........................................................................................... 11

15   Nielsen v. George Diamond Vogel Paint Co.
       892 F.2d 1450, 1454 (9th Cir.1990) ............................................................................................ 8
16
     Snell v. Bell Helicopter Textron, Inc.
17     107 F.3d 744 (9th Cir. 1997) ................................................................................................... 7, 9

18   Willis v. Buffalo Pumps, Inc.
      34 F.Supp.3d 1117 (S.D. Cal. 2014) ........................................................................................... 9
19
     Willis v. BW IP It’l Inc.
20    811 F.Supp.2d 1146 ..................................................................................................................... 7

21   Yearsley v. W.A. Ross Const. Co.
       309 U.S. 18 (1940) ............................................................................................................ 6, 7, 11
22

23

24

25

26

27
                                            ii
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
         Case 4:22-cv-09058-HSG                Document 455          Filed 04/18/24         Page 4 of 27




 1                                                 I.    INTRODUCTION

 2           Plaintiffs hereby oppose Defendants Electrolux Home Products, Inc., Clark-Reliance

 3   Corporation, and Spirax Sarco Inc.’s (“Defendants”) Motion for Summary Judgment.

 4           Defendants’ motion for summary judgment based on the affirmative defense established

 5   by Boyle v. United Technologies Corp. 487 U.S. 500 (1988) must be denied. First, the

 6   government contractor defense is based on federal preemption of state law claims; it does not

 7   apply to claims brought pursuant to federal maritime law like those at issue here. Second, even if

 8   Boyle were to apply, Defendants have not met their burden of demonstrating that, as a matter of

 9   law, the government contractor defense applies to bar Plaintiffs’ claims. Defendants failed to

10   produce any contract with the Navy, failed to identify any government specifications which

11   required them to incorporate asbestos into their products, and failed to present evidence that the

12   Navy prohibited them from providing asbestos warnings with their products. Additionally,

13   Plaintiffs present affirmative evidence here demonstrating that Defendants had latitude to select

14   asbestos or non-asbestos materials when designing their products, and to issue warnings of

15   asbestos hazards. This evidence establishes triable issues of fact regarding Defendants’

16   government contractor defense requiring denial of this motion. On this showing, Defendants

17   likewise have not met their burden of establishing that they are immune from suit based on the

18   doctrine of derivative sovereign immunity. Defendants’ motion should be denied.

19                                       II.    STATEMENT OF THE FACTS1

20           A.       Mr. Marcus’s Work With Defendants Products
21           Mr. Marcus served in the United States Navy from June of 1966 until his retirement as

22   Boiler Technician Master Chief in 1986. (Deposition of Michael Marcus, Exhibit A at 13:25-

23   14:2, 14:13-22, 28:25-29:8; Declaration of Michael Marcus, Exhibit B at ¶ 3). For the entirety of

24   his naval career, Mr. Marcus worked as a boiler technician and boiler repairman. (Exhibit A at

25

26
     1
      Unless otherwise indicated, all Exhibits referenced throughout this motion are attached to the Declaration of
27   Marissa Y. Uchimura submitted in support of Plaintiffs’ opposition to Defendants’’ motion.
                                                               1
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
       Case 4:22-cv-09058-HSG           Document 455        Filed 04/18/24      Page 5 of 27




 1   13:25-27:11; Exhibit B at ¶ 3). During his career, Mr. Marcus personally worked around all of

 2   the equipment located in the machinery spaces of naval ships. (Exhibit B at ¶ 9).

 3              1.      Electrolux Home Products, Inc. (as successor-in-interest to Copes-Vulcan,
                        Inc.
 4

 5          Mr. Marcus repacked and replaced gaskets on Copes-Vulcan soot blowers – integral parts

 6   of boilers that used steam to clean the internal tubes when the boilers were in operation. (Exhibit

 7   A, 43:3-8, 43:16-18, 46:12-20). He used a wire brush and scrapers to remove gaskets and

 8   packing pullers for the packing before blowing it with compressed air. (Id. at 43:23-44:8.) This

 9   created dirty and dusty conditions. (Id. at 44:23-45:20). The replacement gaskets and packing

10   that he used were specified by the manufacturer. (Id. at 45:22-46:8). Mr. Marcus worked on “too

11   many” Copes-Vulcan soot blowers to count during lengthy Naval career. (Id. at 46:12-20.)

12          Mr. Marcus also removed and replaced gaskets and packing from Copes-Vulcan valves.

13   (Exhibit A, 67:24-68:7, 60:22-24, 61:3-9, 62:19-24, 63:4-9). Pulling out old packing, scraping

14   off old gaskets, and blowing out the valves with compressed air created dirty and dusty

15   conditions. (Id. at 61:12-24, 62:6-14, 63:17-64:1.) He worked on Copes-Vulcan valves

16   frequently while working for the Navy. (Id. at 68:8-17.)

17              2.      Clark-Reliance (as successor-in-interest to Jerguson Gage and Valve
                        Company)
18

19          Mr. Marcus used Jerguson sight glasses to determine the water level in a boiler. (Exhibit

20   A, 46:22-47:11.) He did complete rebuilds of Jerguson sight glasses during his service in the

21   Navy which involved the removal and replacement of gaskets on those pieces of equipment. (Id.

22   at 47:13-48:8, 50:17-19.) He removed the old gaskets with a scraper, cleaned the surface with a

23   pneumatic wire brush, and then blew everything out with compressed air. (Id.) That work on

24   created dust. (Id. at 48:9-16.) The replacement gaskets he installed were Jerguson brand. (Id. at

25   48:21-49:12.) Mr. Marcus knew the replacement gaskets were Jerguson’s because he saw the

26   manufacturer’s name on the bag. (Id. at 49:15-21.)

27
                                            2
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
       Case 4:22-cv-09058-HSG            Document 455         Filed 04/18/24       Page 6 of 27



                 3.      Spirax Sarco
 1

 2          Mr. Marcus worked on Sarco steam traps during his service in the Navy. (Exhibit A,

 3   69:24-70:7, 71:4-8, 71:13-15). He removed and replaced gaskets on Sarco steam traps with a

 4   scraper and pneumatic wire brush. (Id. at 70:12-14). This work created dusty conditions. (Id. at

 5   70:15-18). The replacement gaskets that he used were specified by the manufacturer. (Id. at

 6   70:19-22). In his 17 years working aboard ships for the Navy, Mr. Marcus worked with Sarco

 7   steam traps “[t]oo many times to count.” (Id. at 71:16-22).

 8          B.        The Navy Did Not Require Equipment Manufacturers to Use Asbestos in
                      Their Products or Prohibit Asbestos Warnings
 9

10          Plaintiffs retained retired Navy Captain Francis Burger as an expert in this case. Captain

11   Burger issued a report, as well as a declaration that distills the opinions in his report.

12   (Declaration of Captain Burger, Exhibit C; Report of Captain Burger, Exhibit D). Captain

13   Burger has decades of knowledge, training and experience with respect to equipment and

14   machinery on Navy ships, along with knowledge of the use of asbestos-containing materials.

15   (Exhibit C at ¶¶ 2-14, 17-20).

16          Captain Burger, based upon his extensive specialized knowledge, training and expertise

17   in Marine Engineering and the U.S. Navy, provides extensive admissible evidence that not only

18   did original equipment manufacturers design and specify their own products – including internal

19   asbestos components – to meet the U.S. Navy’s performance standards, but also that the U.S.

20   Navy merely rubber-stamped those OEM specifications before incorporating them into military

21   specifications. (Exhibit C at ¶¶ 17-29, 64). The Navy Bureau of Ships did publish specifications

22   for the Navy’s machinery and equipment, but these documents did not tell manufacturers how to

23   design their products. (Id. at ¶ 23). Specifically with regard to gaskets and packing, most of the

24   specifications allowed a range of materials that included both asbestos-containing and non-

25   asbestos materials for most services and most temperature and pressure ranges. (Id. at ¶¶ 23, 88).

26   Equipment manufacturers did not have to supply asbestos-containing materials in order to

27
                                            3
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
          Case 4:22-cv-09058-HSG                Document 455   Filed 04/18/24   Page 7 of 27




 1   comply with any specifications from the Navy. (Id.) Furthermore, while the Navy had Military

 2   Specifications (“MIL-Specs”) and Qualified Products Lists (“QPLs”), the MIL-Specs and QPLs

 3   were guidelines, not a prohibitive list of the only products that could be used aboard Navy ships.

 4   (Id. at ¶¶ 60-65). So long as a product fit the “form, fit and function” of the MIL-Spec, it could

 5   be substituted in place of the pre-qualified product.2 (Id.)

 6              It was the equipment manufacturers that designed and engineered the equipment that they

 7   manufactured, and they were often consulted in the development of military specifications for

 8   their equipment. (Exhibit C at ¶ 22). In addition, as between the Navy and the product

 9   manufacturers, the product manufacturers had the highest level of expertise in the operation and

10   maintenance of equipment they designed, manufactured and sold to the Navy. (Id.) The Navy

11   regularly consulted with product manufacturers to provide the Navy with the manufacturers’

12   expertise and advice on the safe and efficient operation of the equipment manufactured by the

13   product manufacturer. (Id.)

14              Having spent over 20 years serving in the Navy, Mr. Marcus likewise has extensive

15   specialized knowledge, training and experience in the Navy’s process and procedure for

16   obtaining materials used in the repair of Naval propulsion equipment. (Exhibit B at ¶ 8-13). He

17   has used, reviewed and become thoroughly familiar with specifications used in the repair of U.S.

18   Navy vessels. He is also familiar with the process and procedure by which manufacturers

19   participated in the installation, use and maintenance of their products on U.S. Navy ships. (Id. ¶

20   8). During his time drafting the curriculum to educate boiler technicians, he also worked with the

21   Naval Ship Systems Command (“NAVSHIPS”, now known as Naval Sea Systems Command

22   (“NAVSEA”)), technical manuals on a regular and recurring basis. (Id.)

23              Through his extensive training and experience, Mr. Marcus is familiar with and has

24   worked with MIL-Specs. (Exhibit B at ¶ 11). The Navy’s specifications for all equipment and

25   related materials were performance specifications; the Navy did not require that manufacturers

26
     2
27       See also, Exhibit D at ¶¶ 16-28, 64-69).
                                            4
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
           Case 4:22-cv-09058-HSG       Document 455        Filed 04/18/24      Page 8 of 27




 1   utilize asbestos-containing materials or products. (Id.) All maintenance and repair of propulsion

 2   equipment, including boilers and all auxiliary equipment in the fire rooms, was performed

 3   pursuant to manufacturers’ tech manuals and the manufacturers’ specifications therein. (Id.) The

 4   materials and products used both internally and externally on boiler room equipment were

 5   determined by the manufacturers of the equipment. (Id.) The Navy relied on the manufacturers to

 6   be the experts as to the safe maintenance and repair of their equipment. (Id.)

 7            The manufacturers further supplied OEM replacement component parts for maintenance

 8   and repair of the equipment. (Exhibit B at ¶ 13). The United States Navy did not make the

 9   determination as to what materials or replacement parts manufacturers should utilize or specify;

10   the United States Navy was concerned only with performance, and the manufacturers determined

11   which materials to use to meet the performance standards of the Navy. (Id.)

12            Captain Burger also traces Navy specifications that required cautions and warnings in

13   manufacturers’ instruction books and technical manuals, starting with the General Specifications

14   for Machinery, Subsection S1-1, PLANS, issued December 1, 1936, and continuing through a

15   series of military specifications beginning in 1950 with MIL-B-15071 (SHIPS). (Exhibit C at ¶¶

16   30-42). Through these specifications, equipment and machinery manufacturers were required to

17   provide warnings concerning “special hazards”, include safety precautions and provide

18   directions for the use of safety devices with their equipment technical manuals. (Id. at ¶ 89). The

19   warnings were intended to be widely published to Navy personnel, including the sailors that

20   were working on and around the equipment, as copies of the technical manuals were required to

21   be shipped with their equipment and additional copies were to be provided for each ship on

22   which the equipment was installed. (Id.) Further, in the event hazards became known to the

23   equipment manufacturers after the equipment had been sold and shipped, warnings of these

24   hazards were to be provided through new pages for equipment manuals. (Id.; see also, Exhibit

25   D, ¶¶ 29-57).

26   ///

27
                                            5
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
         Case 4:22-cv-09058-HSG               Document 455          Filed 04/18/24        Page 9 of 27




 1           Manufacturers were not precluded by any military specification from providing warnings

 2   of asbestos hazards, but were required to warn of procedures that might harm or kill Navy

 3   personnel. In 1961, the Navy encouraged the use of commercial practices in its technical

 4   manuals.3 (Exhibit C at ¶ 78-79, 90-92). Not once in Captain Burger’s career has he seen an

 5   instance in Navy policy or practice where the government forbade a manufacturer from including

 6   a warning, including any warning related to asbestos, whether on the body of its equipment, on

 7   its packaging, or in its manuals, bills of materials, or plans. (Id. at ¶ 30). “Warnings from the

 8   original designer were accepted as necessary.” (Id., emphasis in original). This is consistent with

 9   Mr. Marcus’s personal knowledge that the Navy permitted manufacturers to place warnings

10   related to safe use on product packaging and in tech manuals. (Exhibit B at ¶ 12).

11                                     III.     EVIDENTIARY OBJECTIONS

12           Plaintiffs object to the Report of Christopher Herfel as Mr. Herfel is not qualified to offer

13   opinions regarding the Navy’s historical practices in procuring equipment and materials.

14   Plaintiffs have filed a separate Daubert motion to exclude Mr. Herfel’s opinions and preclude

15   him from testifying at trial (see, Dkt. No. 413), and Plaintiffs incorporate the arguments and

16   evidence set forth in that motion into their opposition here.

17                                            IV.     LEGAL ARGUMENT

18           Defendants do not dispute that Mr. Marcus worked with asbestos-containing products for

19   which they are liable. Defendants do not contend that Mr. Marcus’s work with their products did

20   not result in his exposure to asbestos. Defendants do not dispute that asbestos exposure

21   attributable to their products was a substantial factor in causing Mr. Marcus to develop terminal

22   cancer. The sole bases on which Defendants seek summary judgment are the affirmative

23   defenses of Boyle’s government contractor defense and derivative sovereign immunity under

24

     3
25     Under the Navy’s September 24, 1956, Uniform Labeling Program, manufacturers were directed to consult the
     “Warning Labels Guide” which recommended warnings for harmful dusts under a definition which included dusts
26   like asbestos. (Exhibit C at ¶¶ 45-46.) The Navy also instructed manufacturers to warn of “toxic hazards” which
     included materials emitting harmful “dust,” and causing injuries “from one exposure (acute) or from repeated
27   exposures over a prolonged period (chronic.).” (Id. at ¶ 45.)
                                                                6
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
      Case 4:22-cv-09058-HSG             Document 455         Filed 04/18/24      Page 10 of 27




 1   Yearsley v. W.A. Ross Const. Co., 309 U.S. 18 (1940). As explained below, Defendants have not

 2   met their burden of demonstrating that either of these affirmative defenses apply as a matter of

 3   law, such that Defendants could be entitled to summary judgment.

 4           A.        Defendants Have Not Met Their Burden of Establishing That Boyle’s
                       Government Contractor Defense Applies As A Matter of Law
 5

 6           Boyle’s government contractor defense is an affirmative defense; Defendants have the

 7   burden of establishing it at trial. (Snell v. Bell Helicopter Textron, Inc., 107 F.3d 744, 746 (9th

 8   Cir. 1997)). Where, as here, a defendant moves for summary judgment based on an affirmative

 9   defense that it will bear the burden of proving at trial, the issue is not whether the defendant

10   produced sufficient evidence to establish the defense, but whether its evidence compels a finding

11   in its favor as a matter of law, i.e., that no reasonable jury could fail to find that the defense had

12   been established. (Id.). “Ordinarily, because of the standard applied at the summary judgment

13   stage, defendants are not entitled to summary judgment pursuant to the government contractor

14   defense.” (Briggs v. Air & Liquid Systems Corp., 2012 WL 975875 (E.D. Pa. Feb. 13, 2012); see

15   also, Willis v. BW IP It’l Inc., 811 F.Supp.2d 1146, 1157 (denying summary judgment based on

16   government contractor defense where plaintiff presented expert testimony contradicting opinions

17   of defendants’ experts)). The question here at the summary judgment stage is whether based on

18   the evidence presented, and resolving disputed facts in favor of Plaintiffs, a reasonable jury could

19   reject Defendants’ government contractor defense; if so, triable issues of fact exist and

20   Defendants’ motion must be denied. (Id.; see also, Boyle, 487 U.S. at 514 (“[W]hether the facts

21   establish the conditions for the defense is a question for the jury.”)).

22                1.      The government contractor defense does not apply to federal maritime
                          law claims
23

24           Plaintiffs’ claims in this case are brough under the general maritime law of the United

25   States. (Exhibit A to the Declaration of Nicole Gage, Dkt. No. 357-4, ¶ 19, 9:5-7.) Boyle does not

26   apply to Federal maritime claims, and as such, Defendants cannot seek its protection in this case.

27
                                            7
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
       Case 4:22-cv-09058-HSG            Document 455        Filed 04/18/24      Page 11 of 27




 1   It is clear from the first sentence of the Supreme Court’s opinion in Boyle, that the opinion deals

 2   with state tort law claims: “This case requires us to decide when a contractor providing military

 3   equipment to the Federal Government can be held liable under state tort law for injury caused by

 4   a design defect.” (487 U.S. at 502). The holding is also specific to state law: “Liability for design

 5   defects in military equipment cannot be imposed, pursuant to state law, when (1) the United

 6   States approved reasonably precise specifications; (2) the equipment conformed to those

 7   specifications; and (3) the supplier warned the United States about the dangers in the use of the

 8   equipment that were known to the supplier but not to the United States. (Id. at 512, emphasis

 9   added.)

10             The 9th Circuit has held that Boyle’s government contractor defense relates to federal pre-

11   emption of state law – “Nor does the Boyle pre-emption doctrine provide Campbell–Ewald with

12   a relevant defense. The doctrine precludes state claims where the imposition of liability would

13   undermine or frustrate federal interests. (See Nielsen v. George Diamond Vogel Paint Co., 892

14   F.2d 1450, 1454 (9th Cir.1990) (explaining that the Boyle standard is used to determine when

15   “federal law should displace state law”).” (Gomez v. Campbell-Ewald Co., 768 F.3d 871, 880

16   (9th Cir. 2014), [aff'd but criticized] 577 U.S. 153, 136 S. Ct. 663, (2016).) The Court explained

17   that “[a]lthough Boyle in effect created a defense for some government contractors, it is

18   fundamentally a pre-emption case.” (Campbell-Ewald, 768 F.3d at 881.) Boyle itself emphasizes

19   the displacement question and indicates that it should not be construed as “broad immunity

20   precedent” for all government contractors. (Id.) Its holding “is rooted in pre-emption principles

21   and not in any widely available immunity or defense.” (Id.) Therefore, because the plaintiff

22   brought claims under federal law, pre-emption was not an issue and “[t]he Boyle doctrine is thus

23   rendered inapposite.” (Id.)

24   ///

25   ///

26   ///

27
                                            8
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
       Case 4:22-cv-09058-HSG          Document 455         Filed 04/18/24     Page 12 of 27



                2.      Even if the defense is available, Defendants have not met their burden of
 1                      demonstrating that it applies as a matter of law
 2          Under Boyle, a government contractor only receives immunity from state tort liability for

 3   design defects in military equipment if it establishes: “(1) the United States approved reasonably

 4   precise specifications; (2) the equipment conformed to those specifications; and (3) the supplier

 5   warned the United States about the dangers in the equipment that were known to the supplier but

 6   not to the United States.” (Boyle, 487 U.S. at 512).

 7          To satisfy the first Boyle requirement, Defendants must establish two distinct

 8   requirements: that there were reasonably precise specifications for the particular defective

 9   features of its products, and that the government actually participated in discretionary design

10   decisions with regard to those features. (Snell, 107 F.3d at 747). This is important; Boyle requires

11   specific government involvement and discretion with regard to the particular design of the actual

12   injury-producing item. “[A]s we explained in Snell…the government’s approval of a particular

13   specification must be more than a cursory ‘rubber stamp’ approving the design. [citation] Rather,

14   approval must result from a ‘continuous exchange’ and ‘back and forth dialogue’ between the

15   contractor and the government. (Butler v. Ingalls Shipbuilding, Inc., 89 F.3d 582, 585 (9th Cir.

16   1996)). When the government engages in a thorough review of the allegedly defective design

17   and takes an active role in testing and implementing that design, Boyle’s first element is met.”

18   (Getz v. Boeing Co., 654 F.3d 852, 861 (9th Cir. 2011)). It follows that Defendants must

19   therefore show that they and the government engaged in a “continuous exchange” and “back and

20   forth dialogue” regarding the use of asbestos in each of the specific components alleged to have

21   exposed Mr. Marcus to asbestos and contributed to his development of mesothelioma. (See, e.g.,

22   Willis v. Buffalo Pumps, Inc., 34 F.Supp.3d 1117, 1125 (S.D. Cal. 2014)). Defendants make no

23   such showing here. Nothing in the evidence submitted by Defendants demonstrates that the

24   Navy, and not Defendants themselves, made the determination that the equipment Defendants

25   furnished to the Navy should incorporate asbestos-containing gaskets and/or packing.

26   ///

27
                                            9
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
      Case 4:22-cv-09058-HSG           Document 455        Filed 04/18/24      Page 13 of 27




 1          Defendants’ broad assertion that the government supposedly exercised general control

 2   over the design and production of all shipboard equipment does not suffice to satisfy the first

 3   prong of Boyle. Defendants have not produced a single reasonably precise government

 4   specification mandating the use of asbestos in their equipment. In fact, Defendants fail to

 5   specifically address the design characteristics or requirements for its equipment or component

 6   parts whatsoever. It is impossible to determine whether the Navy exercised actual discretion or

 7   control over the design of Defendants’ equipment (or their component parts and materials) used

 8   on Mr. Marcus’s ships without said evidence. Boyle’s defense does not apply if the government

 9   contractor itself is responsible for the defect and such a determination simply cannot be made in

10   the absence of evidence.

11          Furthermore, Plaintiffs Naval expert Captain Burger, based upon his extensive

12   specialized knowledge, training and expertise in Marine Engineering and the U.S. Navy

13   controverts the unfounded opinions offered by Mr. Herfel, providing admissible evidence that

14   not only did original equipment manufacturers design and specify their own products – including

15   internal asbestos components – to meet the Navy’s mere performance standards, but also that the

16   Navy merely rubber-stamped those OEM specifications before incorporating them into military

17   specifications. (Exhibit C at ¶¶ 17-29, 60-65, 88). Captain Burger also refutes Mr. Herfel’s

18   unsupported claims that military specifications prevented Defendants from providing asbestos

19   warnings with their asbestos-containing products. Captain Burger identifies actual military

20   specifications proving that the Navy expected and relied upon equipment manufacturers to

21   provide warnings to it and its sailors regarding the manufacturer’s specific products, about which

22   the manufacturers – not the Navy – had superior knowledge and information. (Id. at ¶¶ 30-42,

23   90). Given that Plaintiffs have submitted evidence and affidavits controverting Defendants’

24   evidence as to whether the Navy issued reasonably precise specifications for the design defect at

25   issue – the asbestos-content of Defendants’ equipment and replacement parts and materials – and

26   whether the Navy issued specifications that constrained Defendants from providing asbestos

27
                                            10
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
      Case 4:22-cv-09058-HSG           Document 455         Filed 04/18/24      Page 14 of 27




 1   warnings, a genuine issue of material fact exists as to Defendants’ affirmative defense, requiring

 2   denial of this motion for summary judgment.

 3          B.      Defendants Have Not Met Their Burden on Their Yearsley Derivative
                    Sovereign Immunity Defense
 4

 5          In addition to Boyle’s government contractor defense, Defendants also claim that they are

 6   entitled to derivative sovereign immunity under the Supreme Court’s holding in Yearsley, 309

 7   U.S. 18. This argument is misplaced.

 8          First, it is not clear that the Ninth Circuit recognizes a “derivative government immunity”

 9   defense separate and apart from the government contractor defense. (See, e.g., Cabalce v. VSE

10   Corp., 922 F.Supp.2d 1113, 1123 (D. Haw. 2013) (“[I]t is unclear whether a ‘derivative

11   sovereign immunity defense’ (or a ‘shared immunity defense’) derived from Yearsley is truly

12   distinct from a ‘government contractor defense’ derived from Boyle”); In re Hanford Nuclear

13   Reservation Litig., 534 F.3d 986, 1001 (9th Cir. 2008) (observing that Yearsley “arguably

14   planted the seeds of the government contractor defense” and stating that “[n]othing in Yearsley

15   extended immunity to military contractors exercising a discretionary governmental function”);

16   Griffin v. JTSI, Inc., 654 F.Supp.2d 1122, 1137 & n. 30 (D.Haw. 2008) (stating that Yearsley was

17   “the first case to apply some form of the government contractor defense” and noting that “[s]ince

18   Boyle, the Courts of Appeals have varied greatly in their range of application of the defense”).

19          Second, to the extent that the Ninth Circuit has entertained a “derivative government

20   immunity” defense, it has treated it as largely the same as the government contractor defense. In

21   other words, similar to the government contractor defense,

22                  The Yearsley doctrine is subject to two important limitations. First,
                    ‘a key premise of Yearsley, and one that has been reiterated by
23                  [various federal courts] is that the contractor was following the
                    sovereign's directives.’ ” (citations omitted). Yearsley
24                  “acknowledged that an agent or officer of the Government
                    purporting to act on its behalf, but in actuality exceeding his
25                  authority, shall be liable for his conduct causing injury to another.”
                    Id. (citations omitted). “Second, derivative sovereign immunity is
26                  not available to contractors who act negligently in performing their
                    obligations under the contract.”
27
                                            11
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
      Case 4:22-cv-09058-HSG            Document 455        Filed 04/18/24      Page 15 of 27




 1   (Cabalce, supra, 922 F.Supp.2d at 1125-1127.)

 2   These limitations were addressed by Gomez v. Campbell-Ewald 577 U.S. 153, 166 where the

 3   United States Supreme Court in found that the mere fact that a defendant performs work under a

 4   contract with the government is not sufficient to establish immunity under Yearsley.

 5          Campbell-Ewald involved a defendant with whom the Navy contracted to develop a text

 6   message recruiting campaign directed towards young adults who had “opted in” to receive

 7   marketing solicitations regarding service in the Navy. (Campbell-Ewald, 577 U.S. at 153). The

 8   defendant’s subcontractor transmitted the Navy’s message to over 100,000 recipients, including

 9   the plaintiff who had not consented to receive text messages. (Ibid.) The plaintiff brought a class

10   action lawsuit, alleging that the defendant had violated the Telephone Consumer Protection Act

11   (TCPA) which prohibits the use of an automatic dialing system to send text messages absent the

12   recipient’s prior express consent. (Ibid.) The district court granted summary judgment, finding

13   that as a contractor acting on the Navy’s behalf, the defendant acquired the Navy’s sovereign

14   immunity from suit under the TCPA. (Ibid.)

15          The Ninth Circuit reversed and the United States Supreme Court affirmed that reversal

16   holding that a defendant’s status as a government contractor “[did] not entitle it to ‘derivative

17   sovereign immunity,’ i.e., the blanket immunity enjoyed by the sovereign.” The Supreme Court

18   acknowledged that government contractors “obtain certain immunity in connection with work

19   they do pursuant to their contractual undertakings with the United States”, but unlike the

20   government that immunity is not absolute. (Campbell-Ewald, 577 U.S. at 166). The immunity

21   granted to a government contractor extends only to actions which are done in compliance with

22   the government’s explicit instructions; a private person does not acquire the government’s

23   “embracive immunity” merely because he is doing government work. (Ibid.) Thus because there

24   was evidence that the Navy only authorized the defendant to send text messages to individuals

25   who had “opted in” to receive solicitations, the defendant was not shielded from liability for

26   transmitting messages to individuals like the plaintiff who had not consented to receiving such

27
                                            12
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
      Case 4:22-cv-09058-HSG            Document 455        Filed 04/18/24      Page 16 of 27




 1   messages. (Id. at 168). “When a contractor violates both federal law and the Government's

 2   explicit instructions, as here alleged, no ‘derivative immunity’ shields the contractor from suit by

 3   persons adversely affected by the violation.” (Id. at 166).

 4          Under the rationale of Campbell-Ewald, 577 U.S. 153, Defendants have not demonstrated

 5   that they are immune from suit under Yearsley. As is set forth in detail above, Defendants failed

 6   to submit any evidence that they were required by the Navy to engage in the wrongful conduct

 7   for which Plaintiffs seek to hold them liable. They have not shown that they were following the

 8   sovereign’s directives when they designed, manufactured and supplied asbestos-containing

 9   equipment without asbestos warnings. Thus, “[t]he harm alleged against [Defendants] can be

10   traced, not to the government's actions or decisions, but to the contractor's independent decision

11   to perform the task in an unsafe manner.” (See, Cabalce, supra, at 1127). On these facts, there is

12   no basis to conclude that Defendants are entitled to derivative immunity from suit under

13   Yearsley.

14          C.      Defendants Are Not Entitled to Summary Judgment on Mrs. Marcus’s Loss
                    of Consortium Cause of Action
15

16          The only basis on which Defendants seek summary judgment on Mrs. Marcus’s claim for

17   loss of consortium is the fact that loss of consortium is a derivative cause of action that “stands

18   or falls” with Mr. Marcus’s underlying claims. Because Defendants have not shown that they are

19   entitled to summary judgment on Mr. Marcus’s claims, they have likewise failed to show that

20   they are entitled to summary judgment on Mrs. Marcus’s loss of consortium claim.

21                                            V.    CONCLUSION

22          For the foregoing reasons, Plaintiffs respectfully request that this Court deny Defendants’

23   motion for summary judgment.

24   DATED: April 18, 2024                         Maune Raichle Hartley French & Mudd LLC

25
                                                   By: _______________________________
26                                                       Marissa Y. Uchimura
                                                         Attorney for Plaintiffs
27
                                            13
     PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO DEFENDANTS
28   CLARK RELIANCE CORPORATION, ELECTROLUX HOME PRODUCTS, INC., AND SPIRAX SARCO,
     INC.’S MOTION FOR SUMMARY JUDGMENT
      Case 4:22-cv-09058-HSG             Document 455         Filed 04/18/24      Page 17 of 27




                                           PROOF OF SERVICE
1

2
     I am over the age of 18 years and not a party to this action. My business address is:

3            Maune Raichle Hartley French & Mudd, LLC
             1900 Powell Street, Suite 200, Emeryville, California 94608
4            Telephone No. (314) 241-2003; Facsimile No. (314) 241-4838

5    On April 18, 2024, I caused to be served the document entitled:

6    PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION
     TO DEFENDANTS CLARK RELIANCE CORPORATION, Individually and as
7    successor-in-interest to JERGUSON GAGE AND VALVE COMPANY, ELECTROLUX
     HOME PRODUCTS, INC., as successor in interest to COPES-VULCAN AND SPIRAX
8    SARCO, INC.’S MOTION FOR SUMMARY JUDGMENT

9    DECLARATION OF MARISSA Y. UCHIMURA IN SUPPORT OF PLAINTIFFS’
     OPPOSITION TO DEFENDANTS CLARK RELIANCE CORPORATION, Individually
10   and as successor-in-interest to JERGUSON GAGE AND VALVE COMPANY,
     ELECTROLUX HOME PRODUCTS, INC., as successor in interest to COPES-VULCAN
11
     AND SPIRAX SARCO, INC.’S MOTION FOR SUMMARY JUDGMENT
12
     [PROPOSED] ORDER DENYING DEFENDANTS CLARK RELIANCE
13   CORPORATION, Individually and as successor-in-interest to JERGUSON GAGE AND
     VALVE COMPANY, ELECTROLUX HOME PRODUCTS, INC., as successor in interest
14   to COPES-VULCAN AND SPIRAX SARCO, INC.’S MOTION FOR SUMMARY
     JUDGMENT
15
     on all the parties to this action addressed as stated on the attached service list:
16
      ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for collection and
17
     mailing today following ordinary business practices. I am readily familiar with this agency’s
     practice for collection and processing of correspondence for mailing; such correspondence
18
     would be deposited with U.S. Postal Service on the same day in the ordinary course of business.
19
     ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a facility regularly
     maintained at the U.S. Postal Service for receipt of Express Mail at Los Angeles, California,
20
     with Express Mail postage paid.
21
     ☐       ELECTRONIC MAIL: By transmitting the document by electronic mail to the
     electronic mail address as stated on the attached service list.
22
     ☒      E-FILING: By causing the document to be electronically filed via the Court’s CM/ECF
23
     system, which effects electronic service on counsel who are registered with the CM/ECF
     system.
24

25

26
                                                        1
27
     PROOF OF SERVICE
28                                                                          Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG           Document 455        Filed 04/18/24      Page 18 of 27



     ☐      FAX: By transmitting the document by facsimile transmission. The transmission was
1    reported as complete and without error.
2           I declare under penalty of perjury that the foregoing is true and correct.
3    Date: April 18, 2024
4                                                         ___________________________
                                                          My-Hanh Nguyen
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                      2
27
     PROOF OF SERVICE
28                                                                        Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG      Document 455       Filed 04/18/24    Page 19 of 27




                  Michael R. Marcus vs. Air & Liquid Systems Corporation, et al.
1
                  United States District Court-Northern District of California
2
                                 Case No. 4:22-cv-09058-HSG

3                                       SERVICE LIST

4    Michael J. Pietrykowski
     James G. Scadden
5    Glen R. Powell
     GORDON REES SCULLY MANSUKHANI, LLP
6
     1111 Broadway, Ste. 1700
7    Oakland, CA 94607
     (510) 463-8600
8    Email: mpietrykowski@grsm.com
     Email: jscadden@gordonrees.com
9    Email: gpowell@grsm.com
     Attorneys for Defendants AIR & LIQUID SYSTEMS CORPORATION, successor-by-merger
10   to BUFFALO PUMPS, INC. and VELAN VALVE CORPORATION
11
     Jonathon Sayre
     Elizabeth Rebecca Bain
12
     CMBG3 LAW P.C.
     100 Spectrum Center Drive, Suite 820
13
     Irvine, California 926183
     Email: jsayre@cmbg3.com
14
     Email: ebain@cmbg3.com
15
     Attorney for Defendants ARMSTRONG INTERNATIONAL, INC., and WILLIAM POWELL
     COMPANY
16
     Edward R. Hugo
17   Bina Ghanaat
     Robert J. Bugatto
18   HUGO PARKER, LLP
     240 Stockton Street, 8th Floor
19
     San Francisco, CA 94108
20   (415) 808-0310
     Email: service@HUGOPARKER.com
21   Attorneys for Defendants BWDAC, INC., EATON CORPORATION, as Successor-in-Interest
     to CUTLER-HAMMAR, INC. and FOSTER WHEELER ENERGY CORPORATION
22

23

24

25

26
                                                3
27
     PROOF OF SERVICE
28                                                                Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG        Document 455      Filed 04/18/24    Page 20 of 27




     Nicole Brown Yuen
1
     Laila Rahimi-Keshari
2
     FOLEY MANSFIELD
     2185 North California Boulevard, Suite 575
3    Walnut Creek, CA 94596
     nyuen@foleymansfield.com
4    lrahimikeshari@foleymansfield.com
     (510) 590-9500
5    Attorneys for Defendants BW/IP, INC., Individually and as successor-in-interest to BYRON
     JACKSON PUMPS, Clark Reliance Corporation, individually and as successor-in-interest to
6
     Jerguson Gage and Valve Company; and FLOWSERVE US, INC., Individually and as
7    Successor-in-Interest to DURAMETALLIC CORPORATION

8    Joseph Duffy
     Amy J. Talarico
9    Marisa R. Chaves
     Mitchell Tedesco
10   MORGAN, LEWIS & BOCKIUS LLP
     300 South Grand Avenue
11
     Twenty-Second Floor
12   Los Angeles, CA 90071-3132
     (415) 442-1000
13   Email: joseph.duffy@morganlewis.com
     Email: amy.talarico@morganlewis.com
14   Email: marisa.chaves@morganlewis.com
     Email: Mitchell.tedesco@morganlewis.com
15
     Attorney for Defendant CLEAVER BROOKS, INC., f/k/a CLEAVER-BROOKS, a Division of
16
     AQUA-CHEM, INC., GRINNELL LLC, HILL BROTHERS CHEMICAL COMPANY and
     ITT LLC, Individually and as successor-in-interest to LAWLER MANUFACTURING
17
     Shelley K. Tinkoff
18   HAWKINS PARNELL & YOUNG LLP
     33 New Montgomery, 8th Floor
19   San Francisco, CA 94105-4537
     Email: sktinkoff@hpylaw.com
20
     (415) 979-0400
21   Attorneys for Defendant DOMCO PRODUCTS TEXAS, INC., Individually and as Successor-
     In-Interest to, and formerly known as DOMCO INC. FLOOR PRODUCTS (TEXAS),
22   AZROCK INDUSTRIES INC., UVALDE ROCK ASPHALT COMPANY

23

24

25

26
                                                 4
27
     PROOF OF SERVICE
28                                                                Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG       Document 455      Filed 04/18/24   Page 21 of 27




     Mark A. Love
1
     Ernest D. Faitos
2
     HAWKINS PARNELL & YOUNG LLP
     33 New Montgomery, 8th Floor
3    San Francisco, CA 94105-4537
     Email: efaitos@hpylaw.com
4    Email: mlove@hpylaw.com
     Attorney for Defendant THE DARCOID COMPANY OF CALIFORNIA
5
     Randall K. Bernard
6
     HAWKINS PARNELL & YOUNG LLP
7    1 Post Street, Suite 2400
     San Francisco, CA 94104
8    (415) 766-3200
     rbernard@hpylaw.com
9    Attorney for Defendant TRIPLE A MACHINE SHOP, INC.
10   Nicole E. Gage
     Lance Wilson
11
     Daniel James Kelly, Esq.
12   TUCKER ELLIS LLP
     201 Mission Street, Suite 2310
13   San Francisco, CA 94105
     (415) 617-2105
14   Email: nicole.gage@tuckerellis.com
     Email: lance.wilson@tuckerellis.com
15
     Email: daniel.kelly@tuckerellis.com
16
     Attorneys for Defendants ELECTROLUX HOME PRODUCTS, INC., as successor in interest
     to COPES-VULCAN, FLOWSERVE US, INC., solely as successor to ROCKWELL
17   MANUFACTURING COMPANY; ROCKWELL AUTOMATION, INC., individually and as
     successor-in-interest to ALLEN BRADLEY, CO., LLC, ALLEN-BRADLEY CO., ALLEN-
18   BRADLEY CO., INC. and ROSTONE CORPORATION, and SPIRAX SARCO, INC

19   Frank D. Pond
     Timothy C. Pieper
20
     James M. Buck
21   POND NORTH LLP
     800 South Figueroa St., Suite 970
22   Los Angeles, CA 90017
     (310) 850-5804
23   Email: tpieper@pondnorth.com
     Email: jbuck@pondnorth.com
24   Attorneys for Defendants FMC CORPORATION, Individually and as successor in interest to
     NORTHERN PUMP COMPANY, PEERLESS PUMP COMPANY, and STEARNS
25
     ELECTRIC COMPANY
26
                                                5
27
     PROOF OF SERVICE
28                                                               Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG      Document 455     Filed 04/18/24    Page 22 of 27




1
     Charles W. Jenkins
2
     MANNING GROSS & MASSENBURG LLP
     444 South Flower Street Suite 4100
3    Los Angeles, CA 90071
     (213) 622-7300
4    Email: Cjenkins@mgmlaw.com
     Attorney for Defendant GARDNER DENVER, INC.
5    Charles T. Sheldon
     Derek S. Johnson
6
     Katherine P. Gardiner
7    Emily E. Anselmo
     WFBM, LLP
8    255 California Street, Suite 525
     San Francisco, California 94111-4928
9    (415) 781-7072
     Email: csheldon@wfbm.com
10   Email: djohnson@wfbm.com
     Email: kgardiner@wfbm.com
11
     Email: eanselmo@wfbm.com
12   Email: ehartley@wfbm.com
     Attorney for Defendants GENERAL ELECTRIC COMPANY, GTE CORPORATION,
13   successor in interest to ZINSCO ELECTRICAL PRODUCTS

14   Jennifer A. Cormier
     Kristi L.K. Young
15
     Sean C. McGah
16
     MANNING GROSS & MASSENBURG, LLP
     101 Montgomery Street, Suite 2850
17   San Francisco, CA 94104
     (949) 892-4700
18   Email: jcormier@mgmlaw.com
     Email: kyoung@mgmlaw.com
19   Email: smcgah@mgmlaw.com
     Attorney for Defendant The Goodyear Tire & Rubber Company
20

21

22

23

24

25

26
                                              6
27
     PROOF OF SERVICE
28                                                               Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG        Document 455        Filed 04/18/24   Page 23 of 27




     Christopher O. Massenburg
1
     David M. Glaspy
2
     Lindsay Weiss
     MANNING GROSS + MASSENBURG LLP
3    365 Canal Street, Suite 3000
     New Orleans, LA 70130
4    (504) 535-2880
     cmassenburg@mgmlaw.com
5    dglasby@mgmlaw.com
     LWeiss@mgmlaw.com
6
     Attorney for Defendant Greene, Tweed & Co., Inc.
7
     Gottlieb J. Marmet
8    Andrew Livingston Sharp
     Saleem Belbahri
9    FOLEY MANSFIELD
     2185 North California Boulevard
10   Suite 575
     Walnut Creek, CA 94596
11
     (414) 287-1533
12   gjmarmet@vonbriesen.com
     asharp@foleymansfield.com
13   sbelbahri@foleymansfield.com
     Attorney for Defendant J.R. Clarkson Company, LLC, Individually and as successor to the
14   Kunkle Valve Company
15
     Edward E. Hartley
16
     WFBM, LLP
     255 California Street, Suite 525
17   San Francisco, California 94111-4928
     (415) 781-7072
18   Email: ehartley@wfbm.com
     Attorney for Defendant VERIZON COMMUNICATIONS, INC., Individually and as
19   successor in interest to GTE CORPORATION, successor in interest to ZINSCO
     ELECTRICAL PRODUCTS
20

21

22

23

24

25

26
                                                 7
27
     PROOF OF SERVICE
28                                                                  Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG        Document 455      Filed 04/18/24   Page 24 of 27




     Michael E. Sandgren
1
     Natalie G. Lashinsky
2
     Rocheller R. Ileto
     Lisa L. Oberg
3    Paul D. Smith
     Lisa M. Rickenbacher
4    HUSCH BLACKWELL LLP
     1999 Harrison St., Suite 700
5    Oakland, CA 94612
     (510) 768-0915
6
     Email: Michael.Sandgren@huschblackwell.com
7    Email: Natalie.Lashinsky@huschblackwell.com
     Email: Rochelle.Ileto@huschblackwell.com
8    Email: Lisa.Oberg@huschblackwell.com
     Email: Paul.Smith@huschblackwell.com
9    Email: Lisa.Rickenbacher@huschblackwell.com
     Attorneys for Defendants AURORA PUMP COMPANY; HONEYWELL INTERNATIONAL,
10   INC., f/k/a ALLIED SIGNAL, INC., individually and as successor-in-interest to the BENDIX
     CORPORATION, BENDIX AVIATION CORP., and THE SIGNAL COMPANIES, INC.,
11
     f/k/a SIGNAL OIL & GAS COMPANY, METALCLAD INSULATION, LLC and MORSE
12   TEC LLC f/k/a BORGWARNER MORSE TEC LLC, Individually and as Successor-In-
     Interest to BORGWARNER CORPORATION
13
     Bobbie R. Bailey
14   Frederick W. Gatt
     Edward Martinovich
15
     LEADER BERKON COLAO & SILVERSTEIN LLP
16
     550 S. Hope Street, Suite 1850
     Los Angeles, CA 90071
17   Email: bbailey@leaderberkon.com
     Email: fgatt@leaderberkon.com
18   Email: emartinovich@leaderberkon.com
     Attorneys for Defendants IMO INDUSTRIES, INC., Individually and as successor in interest
19   to DELAVAL TURBINE INC. and SHARPLES, INC.
20
     Narine Levonyan
21   Berkes Crane Robinson Seal LLP
     515 South Figueroa Street, Suite 1500
22   Los Angeles, CA 90071
     (213) 955-1150
23   nlevonyan@bcsslaw.com
     Attorney for Defendant J.T. Thorpe & Son, Inc.
24

25

26
                                                 8
27
     PROOF OF SERVICE
28                                                                Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG     Document 455    Filed 04/18/24   Page 25 of 27




     Viiu Spangler
1
     Karen Lynn Finateri Silbiger
2
     BERKES CRANE SANTANA & SPANGLER LLP
     515 South Figueroa Street, Suite 1500
3    Los Angeles, California 90071
     (213) 955-1150
4    Email: vspangler@bcsslaw.corn
     Email: lsilbiger@bcsslaw.com
5    Attorneys for Defendant PLANT PRODUCTS & SUPPLY COMPANY
6
     Leonard M. Tavera
7    SEMPER LAW GROUP, LLP
     330 N. Brand Boulevard, Suite 670
8    Glendale, California 91203
     (213) 437-9700
9    Email: ltavera@semperlawgroup.com
     Attorneys for Defendants PARKER HANNIFIN CORPORATION as Successor-In-Interest to
10   EIS BRAKES and STANDARD MOTOR PRODUCTS, INC.
11
     Marte J. Bassi
12   Joseph B. Adams
     EDLIN GALLAGHER HUIE & BLUM
13   500 Washington Street, Suite 700
     San Francisco, CA 94111
14   (415) 397-9006
     Email: mbassi@eghblaw.com
15
     Email: jadams@eghblaw.com
16
     Attorneys for Defendant PARKER HANNIFIN CORPORATION as Successor-In-Interest to
     SACOMO-SIERRA
17
     James P. Cunningham
18   TUCKER ELLIS, LLP
     201 Mission Street, Suite 2310
19   San Francisco, CA 94105
     (415) 617-2400
20
     James.cunningham@tuckerellis.com
21   Attorney for Defendant PFIZER, INC. and WARREN PUMPS, LLC

22

23

24

25

26
                                            9
27
     PROOF OF SERVICE
28                                                           Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG     Document 455     Filed 04/18/24   Page 26 of 27




     John R. Brydon
1
     Edward P. Tugade
2
     Erin McGahey
     DEMLER, ARMSTRONG & ROWLAND, LLP
3    101 Montgomery Street, Suite 1800
     San Francisco, CA 94104
4    Email: bry@darlaw.com
     Email: tug@darlaw.com
5    Email: mcg@darlaw.com
     Attorneys for Defendant PNEUMO ABEX LLC, Individually and as Successor-By-Merger to
6
     PNEUMO ABEX CORPORATION, Successor-In-Interest to ABEX CORPORATION f/k/a
7    AMERICAN BRAKE SHOE COMPANY, f/k/a AMERICAN BRAKE SHOE AND
     FOUNDRY COMPANY including the AMERICAN BRAKEBLOK DIVISION, Successor-By-
8    Merger to the AMERICAN BRAKE SHOE AND FOUNDRY COMPANY and THE
     AMERICAN BRAKEBLOK CORPORATION, f/k/a THE AMERICAN BRAKE MATERIALS
9    CORPORATION
10   Christina N. Goodrich
     Damon M. Pitt
11
     K&L GATES LLP
12   10100 Santa Monica Blvd, 8th Floor
     Los Angeles, CA 90067
13   (949) 623-3604
     Email: Christina.Goodrich@klgates.com
14   Email: Damon.Pitt@klgates.com
     Attorneys for Defendant REDCO CORPORATION, formerly known as CRANE CO.
15

16
     Florence A. McClain
     Gina A. Haran
17   LEWIS BRISBOIS BISGAARD & SMITH, LLP
     45 Fremont Street, Suite 3000
18   San Francisco, California 94105
     415-362-2580
19   Email: Florence.McClain@lewisbrisbois.com
     Email: Gina.Haran@lewisbrisnois.com
20
     Attorneys for Defendant SB DECKING, INC., formerly known as SELBY, BATTERSBY &
21   CO.

22

23

24

25

26
                                             10
27
     PROOF OF SERVICE
28                                                            Case No. 4:22-cv-09058-HSG
      Case 4:22-cv-09058-HSG   Document 455    Filed 04/18/24   Page 27 of 27




     Jeffrey H. Grant
1
     Stacey K. Lee
2
     FOX ROTHSCHILD LLP
     345 California St., Ste. 2200
3    San Francisco, CA 94104
     (415) 364-5575
4    Email: jgrant@foxrothschild.com
     Email: staceylee@foxrothschild.com
5    Attorneys for Defendant SCHNEIDER ELECTRIC USA, INC., f/k/a SQUARE D COMPANY
6
     Arpi Galfayan
7    Carla Lynn Crochet
     Jeremy D. Milbrodt
8    PRINDLE, GOETZ, BARNES & REINHOLTZ LLP
     One World Trade Center, Suite 1100
9    Long Beach, California 9083
     (562) 436-3946
10   agalfayan@prindlelaw.com
     ccrochet@prindlelaw.com
11
     jmilbrodt@prindlelaw.com
12   Attorneys for Defendant SYD CARPENTER, MARINE CONTRACTOR, INC.

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                          11
27
     PROOF OF SERVICE
28                                                         Case No. 4:22-cv-09058-HSG
